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             Exhibit ‘H’
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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

MELODY JOY CANTU and                          §
DR. RODRIGO CANTU,                            §
Plaintiffs,                                   §
                                              §
V.                                            § CASE NO.: 5:20-CV-00746-JKP (HJB)
                                              §
DR. SANDRA GUERRA and                         §
DIGITAL FORENSICS                             §
CORPORATION, LLC                              §
Defendants.                                   §


     ORDER GRANTING PLAINTIFFS MELODY JOY CANTU’S AND RODRIGO
     CANTU’S MOTION FOR LEAVE TO FILE SUPPLEMENTAL MOTION FOR
                        SUMMARY JUDGMENT

       Upon due consideration by the Court of Plaintiffs’ Motion for Leave to File

Supplemental Motion for Summary Judgment, the Court finds that the Motion should be

GRANTED in its entirety.

       IT IS THEREFORE ORDERED that Plaintiffs’ Motion for Leave to File Supplemental

Motion for Summary Judgment is GRANTED in all respects.

       IT IS FURTHER ORDERED that Plaintiffs Melody Joy Cantu and Rodrigo Cantu are

granted leave of court to file their Supplemental Motion for Summary Judgment.

       It is so ORDERED.


Dated:_______________                             ________________________________
                                                  UNITED STATES DISTRICT JUDGE
